                 CASE NO. 22-13626-U


      IN THE UNITED STATES COURT OF APPEALS
             FOR THE ELEVENTH CIRCUIT


 HOUSTON COUNTY, GEORGIA, AND HOUSTON COUNTY
 SHERIFF CULLEN TALTON, IN HIS OFFICIAL CAPACITY,
              Defendants-Appellants,

                           v.

                    ANNA LANGE,
                   Plaintiff-Appellee.


 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA, MACON DIVISION
          CIVIL ACTION NO. 5:19-CV-00392-MTT


                 EN BANC BRIEF
           OF DEFENDANTS-APPELLANTS


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DEFENDANTS-APPELLANTS’ CERTIFICATE OF INTERESTED
  PERSONS AND CORPORATE DISCLOSURE STATEMENT
      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

and 11th Cir. R. 26.1, 26.2-1, 26.1-3 and 28-1(b), the undersigned counsel

of record for Defendants-Appellants hereby identifies the following

interested persons:

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          STATEMENT REGARDING ORAL ARGUMENT
     Pursuant to this Court’s August 29, 2024, notice [App. Doc. 112],

this Court, sitting en banc, will hear oral argument by the parties during

the week of February 3, 2025.




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               STATEMENT OF SUBJECT-MATTER
                AND APPELLATE JURISDICTION

     This Court has subject matter jurisdiction over Plaintiff-Appellee

Anna Lange’s (“Lange”) claim under Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e et seq. (“Title VII”), pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f)(3). [See Doc. 1, 56.]

     Defendants-Appellants filed their Notice of Appeal on October 21,

2022. [Doc. 262.] This Court has appellate jurisdiction under 28 U.S.C. §

1292(a)(1) because this is an appeal of an injunction entered under Title

VII against Defendants-Appellants, by the District Court on October 3,

2022. [Doc. 258.]

     This Court also has jurisdiction to review the District Court’s Order

entered on June 2, 2022, insofar as that Order granted summary

judgment to Lange on her Title VII claim against Defendants-Appellants

[Doc. 205] and merged into the injunction entered on October 3, 2022. See

Fed R. App. P. 3(c)(4) (“The notice of appeal encompasses all orders that,

for purposes of appeal, merge into the designated judgment or appealable

order. It is not necessary to designate those orders in the notice of

appeal.”).




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     Additionally, this Court has jurisdiction to review the U.S. District

Court’s June 2, 2022, Order under the doctrine of pendent appellate

jurisdiction, because the injunction entered on October 3, 2022, was

predicated on that earlier ruling—and, so, they are “inextricably

intertwined”—such that a review of the former “is necessary to ensure

meaningful review of the latter.” Tillis on behalf of Wuenschel v. Brown,

12 F.4th 1291, 1297 (11th Cir. 2021) (“[U]nder the doctrine of pendent

appellate jurisdiction, we may address non-appealable orders if they are

inextricably intertwined with an appealable decision or if review of the

former decision is necessary to ensure meaningful review of the latter.”

(internal quotations marks and citation omitted)); see also Chudasama v.

Mazda Motor Corp., 123 F.3d 1353, 1365 (11th Cir. 1997) (exercising

pendent appellate jurisdiction to review otherwise non-appealable order

granting motion to compel where appealed sanctions order was based in

part on defendant’s alleged violation of sanctions order).




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                     STATEMENT OF THE ISSUE

     In its August 29, 2024, En Banc Briefing Notice [App. Doc. 112], the

Court identified the following issue for the Parties to focus their briefs on

for purposes of the upcoming en banc rehearing:

     Whether the employer-provided health insurance policy at
     issue, which covers medically necessary treatments for
     certain diagnoses but bars coverage for Lange’s “sex change”
     surgery, facially violates Title VII of the Civil Rights Act of
     1964.




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                  I.   STATEMENT OF THE CASE

A.   Nature of the Case

     This is a case of alleged employment discrimination based on health

insurance coverage. Plaintiff-Appellee Anna Lange (“Lange”) asserts

that exclusions for sex change surgery (or the reversal of a sex change)

and drugs for sex change surgery amount to sex discrimination under

Title VII because of her transgender status. She makes this assertion (a)

despite the undisputed fact that almost all her non-surgical gender

transition care (endocrinologist visits, hormones, and psychological care)

was covered by her health plan; (b) despite the undisputed fact that the

challenged exclusions were in the health plan long before her hire and

applied to her with equal force when she presented as male as well as

when she presented as female; and (c) despite the undisputed fact that

she is subject to the same almost 100 total exclusions as all other plan

participants – male or female, transgender or not. And while Lange

claims the sex change surgery she desired is “medically necessary,” the

same can be said for other healthcare subject to exclusions, including

sexual dysfunction treatments and drugs, bariatric surgery, and hearing

aids. Thus, the plan’s coverage of transgender care is similar to its


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coverage of other types of care – initial (generally less-expensive)

treatments are covered, while more intensive (expensive) treatment is

not covered. This does not amount to sex discrimination in violation of

Title VII.

      Lange and Defendants-Appellants Houston County, Georgia

(“Houston County” or “the County”) and Houston County Sheriff Cullen

Talton, in his official capacity (“Sheriff Talton” or “the Sheriff,”

collectively with the County, the “Defendants”), respectively, moved for

summary judgment on Lange’s claims of sex discrimination under 42

U.S.C. § 1983 (based on an alleged violation of the Equal Protection

Clause of the U.S. Constitution) and Title VII. Despite typically being

analyzed together under the same standard in this Circuit, the District

Court’s summary judgment order treated these claims quite differently.

[Doc. 205.]

      The District Court denied all parties’ motions for summary

judgment on the Section 1983/Equal Protection claim, finding genuine

issues of material fact as to whether the County’s adoption and

maintenance    of   the   exclusions   were   done   with   the   requisite

discriminatory intent. [Doc. 205, pp. 16-21.] However, the District Court



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granted summary judgment to Lange – who bears the burden of proof –

on her disparate treatment claim under Title VII, concluding that the

U.S. Supreme Court’s holding in Bostock v. Clayton County, Georgia, 590

U.S. 644 (2020), compelled the conclusion that the exclusions were

“facially discriminatory” as a matter of law and further concluding that

the question of Defendants’ alleged discriminatory intent (or lack thereof)

was therefore “immaterial.” [Doc. 205, pp. 21-28.]

     Following a jury trial on the issue of damages only on Lange’s Title

VII claim, the District Court—relying on its summary judgment ruling—

entered an “Order for Permanent Injunctive and Declaratory Relief”

(“Injunction”) on October 3, 2022. [Doc. 258.]            The Injunction

permanently enjoins Defendants from further enforcement or application

of the exclusions and directed Defendants to process Lange’s claim for

“bottom surgery” (a suite of procedures including vaginoplasty). [Id.]

Defendants appealed the Injunction, predicated on the summary

judgment ruling that, irrespective of discriminatory intent (or the lack

thereof), the health plan facially violates Title VII.




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B.    Statement of Facts

      1.    Introduction

      Since at least 1973, Houston County has made its Health Plan

available   to   employees     of   the    Sheriff’s   Office   through   an

intergovernmental arrangement between the two entities. [Doc. 137-5, ¶

6.] The Health Plan is a self-funded plan, under which a third-party

administrator (“TPA”) administers claims using funds provided by the

County and employee contributions. [Doc. 137-4, ¶ 3; 137-5, ¶ 11.]

Anthem BlueCross BlueShield (“Anthem”) has provided TPA services to

the Health Plan at all times relevant hereto. [See Doc. 137-4, ¶¶ 2-3.]

      2.    Lange’s Hire

      In September 2006, Sheriff Talton, who has been Sheriff since 1973,

hired Lange, who then presented as male, as a Deputy Sheriff. [Doc. 150-

8, p. 6.] Lange has participated in the Health Plan at all times since. [Doc.

150-8, p. 13.]

      3.    Lange’s Gender Transition

      In early 2017, Lange was diagnosed with gender dysphoria. [Doc.

150-8, p. 16.] Lange thereafter began a regimen of hormone replacement

therapy overseen by her endocrinologist and counseling sessions with her



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psychotherapist. [Doc. 150-18, p. 16.] All of these non-surgical services

were covered under the Health Plan. [Doc. 150-18, pp. 11-12 (Pl. Dep.,

Ex. 36, pp. 120:14-124:17; Doc. 141 (Soety Dep., Ex. 3, pp. 38:23-41:12)

(filed under seal)).]

       Shortly thereafter, in April 2017, Lange informed Sheriff Talton

that she wanted to present as female going forward and requested

permission to follow the Sheriff’s Office’s female dress policy, which the

Sheriff granted that same day. [Doc. 150-8, p. 18.] Approximately a year

later, in April 2018, Lange underwent surgery to feminize her chest (also

referred to as “top surgery”) but did not seek reimbursement for the

procedure under the Health Plan. [Doc. 147, ¶ 14; Doc. 150-18, pp. 20-

21.]

       4.   Lange Requested Insurance Coverage for Bottom
            Surgery

       Lange subsequently determined that genitourinary surgery (also

referred to as “bottom surgery”) was the next step in the treatment of her

gender dysphoria. [Docs. 147, ¶¶ 14; Doc. 150-18, pp. 20-21.] Accordingly,

on November 13, 2018, Lange met with a surgeon in New York, a medical

consultation that also was covered under the Health Plan. [Doc. 144-1, p.

8, ¶ 23; Doc. 253-2, p. 1; see also Doc. 259 (Trial Transcript), pp. 172-73.]


                                     -6-
     5.    Denial of Coverage for Bottom Surgery

     The Health Plan contains a number of exclusions from coverage.

[Doc. 137-5, ¶ 13.] Among the 68 “medical” exclusions are the following:

     …

     36.   Hearing Aids Hearing aids or exams to prescribe or fit
           hearing aids for members over 18 years of age, unless
           listed as covered in this Benefit Booklet. This Exclusion
           does not apply to cochlear implants. This Exclusion does
           not apply to hearing aids to correct degenerative hearing
           loss.

     ….

     39.   Infertility Treatment Testing or treatment related to
           infertility treatment except for diagnostic services and
           procedures to correct an underlying medical condition.
           Infertility procedures not specified in this Benefit
           Booklet.

     ….

     57.   Sex Change Services and supplies for a sex change
           and/or the reversal of a sex change.

     58.   Sexual Dysfunction Services or supplies for male or
           female sexual problems.

     ….

     68.   Weight Loss Surgery Bariatric surgery. This includes
           but is not limited to Roux-en-Y (RNY), laparoscopic
           gastric bypass surgery or other gastric bypass surgery
           (surgeries to lower stomach capacity and divert partially
           digested food from the duodenum to the jejunum, the


                                   -7-
           section of the small intestine extending from the
           duodenum, or gastroplasty, (surgeries that reduce
           stomach size), or gastric banding procedures.

[See Doc. 155-1, pp. 70-72 (boldface in original; italics added).]

     In addition, the Health Plan has 29 “pharmacy” exclusions,

including the following:

     ….

     15.   Infertility Drugs Drugs used in assisted reproductive
           technology procedures to achieve conception (e.g., IVF,
           ZIFT, GIFT)

     ….

     26.   Sex Change Drugs Drugs for sex change surgery.

     27.   Sexual Dysfunction Drugs Drugs to treat sexual or
           erectile problems.

     ….

     29. Weight Loss Drugs Any drug mainly used for weight
     loss.

[See Doc. 155-1, p. 74 (boldface in original; italics added).

     The Health Plan has, using the same or similar language,

maintained “the Exclusion” 1/ (i.e., medical exclusion number 57 and




     1/ Throughout the proceedings, those two exclusions—medical
exclusion no. 57 and pharmacy exclusion no. 26, respectively—have been

                                     -8-
pharmacy exclusion number 26) since at least 1998—approximately eight

years before Lange was hired as a Sheriff’s Deputy and became a plan

participant. [Doc. 150-13, p. 12; Doc. 159, p. 45.] Lange is the only openly

transgender person employed by the Sheriff’s Office or the County

government, and, thus, the only known transgender member of the

Health Plan. [Doc. 150-19, p. 19.] For this reason, Defendants do not

dispute that the only Health Plan participants impacted by the Exclusion

are those transgender persons seeking to undergo “sex change” surgery.

[Doc. 151, ¶ 15; Doc. 115-20, p. 3.]

     Anthem informed Lange that coverage for bottom surgery under

the Health Plan would be denied pursuant to the Exclusion. [Doc. 147, ¶

27.] In February, 2019, Lange requested that the County’s Board of

Commissioners remove the Exclusion or, in the alternative, grant her an

exemption that would allow coverage for bottom surgery; because the

plan terms for the year had already been set at that time, the Board

denied her request. [Doc. 179-3, ¶¶ 173, 174.]




referred to collectively as the “Exclusion,” and, thus, except where
otherwise necessary, Defendants do the same here.

                                       -9-
       Lange then commenced this action asserting, inter alia, a disparate

treatment claim of sex discrimination based on her transgender status in

the provision of employee health benefits under Title VII.

C.     The Course of Proceedings and Dispositions in the Court
       Below

       1.   The Parties and Lange’s Amended Complaint

       Lange filed this action on October 2, 2019, against Houston County,

its Board of Commissioners (the “Board”), and multiple County officials

in their official and individual capacities. [Doc. 1.] Pursuant to an

Amended Complaint filed on April 10, 2020, Lange added her employer—

Sheriff Talton—as a Defendant in his individual and official capacities

but did not drop the County or any of its officials as Defendants. [Doc.

56.]

       Lange challenged two coverage exclusions in the County’s Health

Plan: “Sex Change Services and supplies for a sex change and/or the

reversal of a sex change”; and “Sex Change Drugs for sex change

surgery.” [Doc. 1; Doc. 56; Doc. 155-1, pp. 72, 74.] Specifically, Lange’s

Amended Complaint asserted claims of (1) discrimination based on her

sex and transgender status under 42 U.S.C. § 1983 and the federal Equal

Protection Clause; (2) a similar claim under the Georgia Constitution,

                                   -10-
Ga. Const. art. I, § 1, para. 2; (3) intentional discrimination based on her

sex under Title VII; (4) intentional discrimination—including an alleged

failure to accommodate—based on a diagnosis of gender dysphoria under

Title I of the Americans With Disabilities Act, 42 U.S.C. §§ 12101-12117

(“ADA”); (5) intentional discrimination under Title II of the ADA, 42

U.S.C. §§ 12131-12134; and (6) intentional discrimination under Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794(A). [Doc. 56.]

         2.   Lange’s    Motion    for  Preliminary     Injunction,
              Defendants’ Motions to Dismiss, and the U.S. Supreme
              Court’s Bostock Opinion

         Lange filed a Motion for Preliminary Injunction on November 22,

2019—and a Superseding Motion for a Preliminary Injunction on April

10, 2020—requesting an order enjoining enforcement of the Exclusion as

to her and directing Anthem to provide coverage for her bottom surgery

for which she had been denied coverage under the Health Plan pursuant

to the Exclusion. [Doc. 28, p. 1; Doc. 28-1, p. 11; Doc. 57, p. 1; Doc. 57-1,

p. 8.]

         On May 11, 2020, Sheriff Talton filed a Motion to Dismiss for Lack

of Jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil

Procedure, and the remaining Defendants filed a Motion to Dismiss



                                     -11-
pursuant to Rule 12(b)(6). [Docs. 61, 62.] And on May 15, 2020,

Defendants filed a joint response in opposition to Lange’s Superseding

Motion for a Preliminary Injunction. [Doc. 63.]

      On June 15, 2020, the U.S. Supreme Court issued its opinion in

Bostock v. Clayton County, Georgia, 590 U.S. 644 (2020), holding that –

contrary to binding Eleventh Circuit precedent followed by the appellate

panel in that same case, see Bostock v. Clayton Cty., Ga., 723 F. App’x

964 (11th Cir. May 10, 2018) (per curiam) – a claim of sex discrimination

under Title VII could be predicated on a plaintiff’s transgender or

homosexual status. See Bostock, 590 U.S. at 683 (“An employer who fires

an individual merely for being gay or transgender defies [Title VII].”).

      3.    The District Court’s Hearing and Order on Defendants’
            Motions to Dismiss

      On August 19, 2020, the District Court conducted a hearing on the

Motions to Dismiss. [See Doc. 87.] On October 30, 2020, the District

Court entered an Order dismissing Lange’s claims and each Defendant

except as follows: (1) her Section 1983/Equal Protection claim; (2) her

Title VII claim; and (3) her ADA Title I claim, each against the County

and the Sheriff in his official capacity. [Doc. 89, p. 36.]




                                     -12-
     As to the Title VII sex discrimination claim, the District Court held

that “Lange [had] alleged sufficient facts to support a plausible inference

of individual discrimination.” [Doc. 89, pp. 21-22.]

     As to the Section 1983/Equal Protection claim, the District Court

held that Lange’s “argument that the Exclusion is facially discriminatory

[was] suspect” based on the Supreme Court’s opinion in Geduldig v.

Aiello, 417 U.S. 484 (1974). [Doc. 89, pp. 23-25.] In Geduldig, the Court

heard an Equal Protection challenge to a California “disability insurance

system that pa[id] benefits to persons in private employment who [were]

temporarily unable to work because of disability not covered by

workmen’s compensation” but “exclude[d] from coverage certain

disabilities resulting from pregnancy.” See id. at 486. The issue presented

was whether that program “invidiously discriminate[d] against [the one

remaining plaintiff] and others similarly situated by not paying

insurance benefits for disability that accompanie[d] normal pregnancy

and childbirth.” Id. at 492.

     Resolving that issue against the plaintiff, the Court found it “[could

not] agree that the exclusion of [that] disability from coverage




                                   -13-
amount[ed] to invidious discrimination under the Equal Protection

Clause.” Id. at 494. More specifically, the Supreme Court found that

     [t]he lack of identity between [pregnancy] and gender as such
     under th[e] insurance program [at issue] [became] clear upon
     the most cursory analysis. The program divide[d] potential
     recipients into two groups—pregnant women and
     nonpregnant persons. While the first group is exclusively
     female, the second includes members of both sexes. The fiscal
     and actuarial benefits of the program thus accrue[d] to
     members of both sexes.

Id. at 496 n.20. Accordingly, the Geduldig Court held that the plaintiff’s

contention that “she ha[d] suffered discrimination because she

encountered a risk that was outside the program’s protection [was] not a

valid one under the Equal Protection Clause.” Id. at 497.

     Applying Geduldig to the issues raised by Defendants’ Motions to

Dismiss, the District Court held that the Exclusion was not facially

discriminatory under the Equal Protection Clause because “Lange has

the same health coverage as other employees.” [Doc. 89, p. 21.] In so

holding, the District Court expressly rejected Lange’s contention that

Geduldig “ha[d] been undermined by intervening precedent”—including

Bostock and this Circuit’s opinion in Glenn v. Brumby, 663 F.3d 1312 (11th

Cir. 2011)—finding that “those cases have no bearing on whether a health

exclusion is facially discriminatory.”    [See Doc. 89, p. 24 (emphasis


                                   -14-
added); see also id. (“the issue addressed by Geduldig is different;

whether an insurance exclusion based on a health condition is facially

discriminatory. Neither Bostock nor Glenn had any bearing on that issue.”

(emphasis added).]

     4.    Lange’s Renewal and Subsequent Withdrawal of Her
           Superseding Motion for Preliminary Injunction

     On October 30, 2020, Lange renewed her request that the District

Court schedule oral argument on her pending Superseding Motion for

Preliminary Injunction as to her Title VII and Section 1983/Equal

Protection claims [Doc. 91, pp. 1-2], but Lange withdrew her motion on

May 19, 2021. [Doc. 111, p. 1.]

     5.    The Parties’ Cross-Motions for Summary Judgment

     On November 3, 2021, Lange and Defendants each moved for

summary judgment on all remaining claims. [Docs. 136, 137, 140.] The

parties filed their respective responses in opposition on December 22,

2021 [see Docs. 177, 178, 179], and their respective briefs in reply on

January 26, 2022 [see Docs. 186, 187, 188].

     In moving for summary judgment on her Title VII claim, Lange

contended there was “direct evidence” of sex discrimination. [Doc. 140-1,

pp. 21-30.] Accordingly, Lange argued, it was “unnecessary” to proceed


                                  -15-
under either the burden-shifting, circumstantial-evidence framework

adopted by the Supreme Court in McDonnell Douglas v. Green, 411 U.S.

792, 802-804 (1973), or the “convincing mosaic” standard recognized by

this Circuit in Smith v. Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th

Cir. 2011). [Doc. 140-1, p. 15 n.7.] In their response in opposition,

Defendants expressly contested, inter alia, Lange’s arguments that she

had presented direct evidence of sex discrimination. [Doc. 179, pp. 10-11.]

      The District Court conducted a hearing on the parties’ motions on

February 24, 2022. [Docs. 196, 197.] On March 29, 2022, the District

Court requested additional briefing from the parties on the following

issue: “[w]hether an exclusion in the employee health care benefit plan

that excludes medically necessary coverage because of transgender

status necessarily is a violation of Title VII.” [Doc. 200.] On April 8, 2022,

the parties submitted their additional briefing: Lange arguing that the

Exclusion violated Title VII; Defendants arguing that it did not. [Docs.

201, 202. 2/]


      2/  The term “medically necessary” as used in this case is from
Anthem’s guidelines. [See Doc. 205, p. 4.] Pursuant to those guidelines,
Anthem considers surgery to be medically necessary if there is a
“significant functional impairment AND the procedure can be reasonably
expected to improve the functional impairment.” [See Doc. 150-25, p. 2.]

                                    -16-
      6.    The District Court’s Summary Judgment Order

      On June 2, 2022, the District Court entered an Order on the parties’

summary judgment motions, ruling as follows:

      The District Court granted summary judgment to Defendants on

Lange’s ADA claim because she “submitted no evidence that her gender

dysphoria results from a physical impairment.” [Doc. 205, p. 33; see also

id., pp. 28-33.]

      Regarding Lange’s Section 1983/Equal Protection claim, the

District Court denied both parties’ motions, holding that Geduldig

“foreclosed”   any   argument     that    the   Exclusion   was   “facially

discriminatory” based on sex under the Equal Protection Clause and,

furthermore, that “a genuine dispute of material fact [existed] as to

whether the adoption and maintenance of the Exclusion was done with

discriminatory intent.” [Id., p. 21 n. 11; see also id., pp. 16-21.] In

particular, following “the logic of Geduldig,” the District Court held that

“Lange has the same coverage as other employees because the Exclusion

applies equally to a male seeking to become a woman or a woman seeking

to become a man.” [Id. at 17 (emphasis added).] The District Court held




                                   -17-
that the Exclusion therefore “creates two groups—those that want a ‘sex

change’ and those that do not”—and since both groups contain

transgender members, “a ‘lack of identity’ exists between the policy and

transgender status.” [Id., p. 18.3/] Accordingly, the District Court held

that “in the context of the Equal Protection Clause, the Exclusion does

not facially discriminate on the basis of sex.” [Id. 4/]

      But on her Title VII discrimination claim, the District Court came

to the opposite legal conclusion in granting Lange’s—and denying

Defendants’—summary judgment motions. [Doc. 205, pp. 21-28.] The

District Court acknowledged that “[a]t first look, it may seem odd that

the question of whether the Exclusion violated the Equal Protection

Clause is one of fact while the question of whether the Exclusion violates

Title VII can be decided as a matter of law.” [Id. at p. 21.] But the District


      3/   It is undisputed that transgender persons may be either
biologically male or biologically female and, furthermore, that some
transgender persons do not want a “sex change.” [Doc. 179-3, ¶ 14.]

      4/   As in its Order on Defendants’ Motion to Dismiss [Doc. 89, p.
24], the District Court found that this Circuit’s opinion in Glenn, supra,
“ha[d] no bearing on the issue of whether an insurance exclusion based
on a medical procedure that only one sex can undergo is facially
discriminatory under the Equal Protection Clause because Geduldig
already provides the answer.” [Doc. 205, p. 18, n.9, citing 417 U.S. at 496
n.20; see also Doc. 89, p. 24.]

                                     -18-
Court held that “[w]hether odd or not, the reason is clear—Bostock ….”

[Id.]

        In arriving at the latter ruling, the District Court correctly held

that “healthcare coverage” falls within Title VII’s ban on sex

discrimination in “compensation, terms, conditions, or privileges of

employment.” [Id. (citing Newport News Shipbldg. & Dry Dock Co., 462

U.S. 669, 682 (1983) (quoting 42 U.S.C. § 2000e-2(a)(1))).] The District

Court likewise correctly held that, under Bostock, when an employer

discriminates against an individual because of his or her transgender

status, the employer discriminates against that individual because of his

or her sex in violation of Title VII. [Doc. 205, p. 21 (citing Bostock, 140 S.

Ct. at 1741, [590 U.S. at 660]).] But the District Court erred in holding—

both as a matter of fact and law—that, based on Bostock, “it is undisputed

that the Exclusion is facially discriminatory” under Title VII and [that],

as such, Defendants’ “intent [was] immaterial.” [Id., p. 22 (citing Int’l

Union, United Auto, Aerospace & Agr. Implement Workers of Am., UAW

v. Johnson Control, Inc., 499 U.S. 187, 199 (1991) (“Johnson Controls”)).]

        The District Court appeared to base its factual findings on two

purportedly undisputed facts contained in Paragraphs 77 and 78 of



                                    -19-
Lange’s Statement of Material Facts in support of her summary

judgment motion: 5/ (i) that “[t]he Exclusion denies coverage for

procedures and treatments that would otherwise be covered if provided

in connection with a different diagnosis” [Doc. 205, pp. 22-23 (quoting

Doc. 179-3, ¶ 77); see also Doc. 195, ¶ 77]; and (ii) that “Defendants admit

‘that the only Health Plan participants impacted by the Exclusion are

transgender people seeking a ‘sex change’” [Doc 205, pp. 22-23 (quoting

Doc. 179-3, ¶ 78); see also Doc. 195, ¶ 78].

     More specifically, as to Lange’s Paragraph 77, the District Court

accepted her assertion that “the [Health Plan] pays for hormone

replacement therapy medically necessary for the treatment of

menopause, but not hormone replacement therapy medically necessary

for ‘sex change.’” [Doc. 205, p. 23.] But, as discussed further below, that

finding is not only unsupported by the record, but it directly contradicts

Lange’s own deposition testimony that her hormones and hormone

therapy were covered by the Health Plan and is belied more generally by

Lange’s other deposition testimony and exhibits. [Doc. 150-18, pp. 11-12


     5/  See Local Rule 56, M.D.Ga. (requiring that both summary
judgment movants and respondents file “separate and concise
statement[s] of material facts” along with their initial briefs).

                                    -20-
(Pl. Dep. II, pp. 120:14-124:17, Ex. 36. 6/] And even if the District Court’s

finding were correct, it would not show unlawful discrimination because

hormone therapy to treat menopause is logically not the same

“procedure” or “treatment” as using oppose sex hormones as part of a sex-

change.

     Moreover, because it is Lange who bears the burden of proof on

causation under Title VII, all material facts and reasonable inferences

therefrom were required to be drawn in Defendants’ favor on her

summary judgment motion. [Doc. 205, pp. 8-9.] Therefore, as also

discussed further below, the District Court erred—as a matter of law—

in crediting Lange’s factual assertion that the Exclusion barred her non-

surgical treatment for gender dysphoria as either undisputed or

otherwise supporting summary judgment in her favor. 7/


     6/Although Lange made the conclusory assertion at the summary

judgment hearing that some of her healthcare was covered only because
her providers had used special coding to disguise that the care was for
gender transition [see Doc. 197, pp. 56-57,] Defendants showed that was
not the case through actual evidence in the record; namely, the coding
used by her endocrinologist in his own records [Doc. 201, p. 3].

     7/ Indeed, as discussed further below, the District Court expressly

acknowledged in its Order that Defendants’ “qualifications on their
[purported] admission to Plaintiff’s Statement of Fact 77 [was] well
taken” – that although the Exclusion “excludes coverage for sex change

                                    -21-
      As to Paragraph 78 of Lange’s Statement of Material Facts,

Defendants did acknowledge that the Exclusion—again, comprised of one

of 68 medical exclusions and one of 29 pharmacy exclusions contained in

the Health Plan—logically impacted only transgender participants who

might seek a sex change. But the District Court inexplicably treated that

common sense acknowledgment as a concession of but-for causation and,

ultimately, liability under Title VII, concluding that under the Exclusion,

“[t]ransgender employees cannot get medically necessary treatment for

‘sex change’ medical care because they are transgender.” [Doc. 205, p. 24

(emphasis added).] “On these [purportedly] undisputed facts, [the

District Court held that] the implication of Bostock is clear.” [Id.]

Accordingly, the District Court entered summary judgment for Lange on

her Title VII claim. [Id. at p. 28.]




surgery and drugs related to sex change surgery,” it does not exclude non-
surgical treatment for gender dysphoria. [Doc. 205, p. 23; see also id., p.
26 (appearing to acknowledge that the Health Plan “covers some
treatment relating to Lange’s transgender status”).] Nevertheless, the
District Court held that Defendants’ factual qualification was
“immaterial to the question of whether the Exclusion is facially
discriminatory” under Title VII. [Id., at p. 23.]

                                       -22-
      7.   Jury Trial on Damages on Lange’s Title VII Claim

      Because its Order granting Lange summary judgment on her Title

VII claim was limited to the issue of liability, the District Court set the

action for a jury trial on the issue of compensatory damages, which trial

was conducted on September 26 and 27, 2022. [Doc. 251.] On September

27, the jury returned a damages verdict in the amount of $60,000. [Doc.

256.8/]

      8.   Permanent Injunction and Appeal

      On September 27, 2022, Lange submitted to the District Court a

proposed “Order for Permanent Injunctive and Declaratory Relief”

pursuant to 42 U.S.C. § 2000e-5(g). [Doc. 258.] The relief sought pursuant

to the Injunction was similar to that sought in Lange’s previously filed

(and withdrawn) Superseding Motion for Preliminary Injunctive Relief

but was now predicated on the Order granting summary judgment to

Lange on her Title VII claim and, purportedly, “the findings of

undisputed fact and conclusions of law” in that Order. [Doc. 258.]




      8/  At trial, Lange did not put forth any evidence in support of her
claim for damages based on the lack of any coverage for her “top surgery”
or other out-of-pocket expenses and, ultimately, withdrew any claim to
recover damages based on the same. [Doc. 259 (Trial Transcript), p. 226.]

                                   -23-
     On October 3, 2022, the District Court entered the Injunction

declaring that the Exclusion “violated Title VII”; “permanently

enjoin[ing] Defendants from any further enforcement or application of

the Exclusion”; and ordering Defendants (i) to notify Anthem of the Order

and “to take all necessary steps to ensure Anthem cease[d] to enforce or

apply the Exclusion or to maintain it in the Health Plan,” and (ii) to

     direct Anthem to process any claim for Lange’s vaginoplasty,
     including all “Medically Necessary pre-operative care (as that
     term is used in the Health Plan) as indicated by her treating
     providers, in accordance with the terms, conditions, and
     limitations of the Health Plan as they stood in 2019 (except as
     modified herein).

[Doc. 258, pp. 1-2.]

     On October 21, 2022, Defendants filed their Notice of Appeal of the

District Court’s Injunction. [Doc. 262.] On November 17, 2022, the

District Court entered an Order continuing the trial, if any, of Lange’s

Section 1983/Equal Protection claim pending this appeal. [Doc. 281; see

also Docs. 272, 272-1, 279, 279-1.]

     On May 13, 2024, an Eleventh Circuit panel, in a 2-1 decision,

affirmed the District Court’s Order finding Defendants liable under Title

VII and the subsequent Order enjoining further enforcement or

application of the Exclusion. [App. Doc. 79-1.] On August 15, 2024, this


                                      -24-
Court entered an Order vacating the panel decision and directing that

this appeal be reheard en banc. [App. Doc. 111-1.]

D.   Standard of Review

     This Court reviews a district court’s entry of a permanent

injunction for an abuse of discretion but reviews the underlying

conclusions of law de novo. Alabama v. Ctrs. for Medicare & Medicaid

Servs., 674 F.3d 1241, 1244 n. 2 (11th Cir. 2012) (per curiam).

Additionally, this Court reviews the grant of summary judgment de novo.

Jones v. Dillard’s Inc., 331 F.3d 1259, 1262 (11th Cir. 2003).

               II.   SUMMARY OF THE ARGUMENT

     The Health Plan does not discriminate—facially or otherwise—

against transgender individuals. Rather, the plan treats transition care

just like it treats other healthcare—covering most types of care and

excluding the most expensive forms of non-life-threatening care. This

Court should reverse the District Court’s judgment for three reasons.

     First, Bostock does not answer the issue presented in this case. The

Bostock majority declined to rule on anything other than the simplified

issue in the cases presented—does firing (or not hiring or not promoting,

etc.) a person based merely on sexual orientation or transgender status



                                   -25-
amount to sex discrimination under Title VII? Other concerns (including

healthcare), it said, were matters for future cases. If Bostock shed light

on the issues here, it reveals Lange’s failure to show how she was treated

worse than any similarly situated employee. The Health Plan does not

provide different coverage to Lange because she is transgender—she has

the same coverage at the same cost as all other participants. And the

exclusion for sex change surgery would apply regardless of who asked for

it—just like the other plan exclusions that happen to be of little or no

interest to Lange. Moreover, the fact that sex change surgery meets the

definition of “medically necessary” under Anthem’s Guidelines (a

functional impairment that is reasonably expected to improve with a

procedure) does not distinguish it from other “medically necessary” care

excluded from coverage, such as sexual dysfunction treatments and

drugs, bariatric surgery, and hearing aids.

     Second, other Supreme Court cases do not undermine—and in fact

support—Defendants’ position. Affirming the District Court’s order

would grant “most-favored nation” status to all transgender participants

in all health plans in this Circuit, as nothing could be excluded from

coverage if it affected a gender transition, no matter the similarity with



                                   -26-
other health plan exclusions. This special status is inconsistent with

other jurisprudence applying Title VII to benefits and would elevate

transgender employees over other statutorily protected employees.

     Third, while this appeal directly challenges the Injunction, it

necessarily contends that summary judgment to Lange – constituting the

legal foundation for the Injunction – was error. Accordingly, Defendants

address several points in connection with summary judgment:

  • The District Court granted summary judgment to the party bearing

     the burden of proof (Lange) and did so in such a way as to obviate

     the need for her to present evidence of Defendants’ discriminatory

     intent. It found facial discrimination despite record evidence that—

     at the very least—raises disputes of material fact on that score

     when construed in Defendants’ favor.

  • Based on the uncontroverted record, including Lange’s own sworn

     testimony, the County’s Health Plan covered most non-surgical care

     for her transition, even if it indisputably did not cover sex change

     surgery. This presents at least a dispute of fact, and it contradicts

     the conclusion that the Health Plan was facially discriminatory




                                  -27-
     because it shows that the Plan differentiated based on treatment,

     not sex or gender identity.

  • Highlighting the error of Lange’s argument that the County covers

     the “same treatments” for other employees, Lange’s own experts

     explained that the suite of surgical procedures a transgender

     female like Lange would undergo—and which Lange has now

     undergone pursuant to the Injunction—as part of sex change

     surgery are unique and distinct from the medical procedures a

     natal female would undergo as part of her sexual healthcare.

               III.   ARGUMENT AND AUTHORITY

     This appeal challenges the District Court’s finding that the

County’s Health Plan, in which Lange participated, was facially

discriminatory under Title VII. [Doc. 205 at 22.] That ruling was the

foundation on which a Permanent Injunction was issued. [Doc. 258.]

Defendants show below that Bostock—the determinative legal basis for

the District Court’s ruling—does not control the outcome here; that other

Supreme Court precedent supports Defendants’ position; and that the

District Court erred in entering summary judgment for Lange, who bears

the burden of proof, in light of record evidence that at the very least



                                   -28-
presents multiple disputes of fact. Accordingly, this Court should dissolve

the Injunction and reverse the grant of summary judgment to Lange

under Title VII.

A.   Bostock held that discrimination merely on the basis of
     transgender status or sexual orientation constitutes
     discrimination because of sex under Title VII.

     1. Bostock does not support the District Court’s decision.

     The Supreme Court in Bostock addressed and resolved a threshold

statutory question under Title VII on which the federal circuit courts of

appeals were then split: whether homosexual and transgender plaintiffs

could avail themselves of the sex-based protections of Title VII or

whether, for example, “an employer [could] fire someone simply for being

homosexual or transgender.” See 590 U.S. at 651 (emphasis added); see

also id. at 653 (“Each of the three cases before us started the same way:

An employer fired a long-time employee shortly after the employee

revealed that he or she is homosexual or transgender—and allegedly for

no reason other than the employee’s homosexuality or transgender

status.” (emphasis added)); id. at 665 (“For present purposes, [the

employers] do not dispute that they fired the plaintiffs for being

homosexual or transgender.”) (emphasis added).



                                   -29-
      Based on those factual assumptions, the Bostock Court explained

that, under Title VII, “it is impossible to discriminate against a person

for being homosexual or transgender without discriminating against that

individual based on sex.” Id. at 660. Accordingly, the Court held that “[a]n

employer who fires an individual for being homosexual or transgender

fires that person for traits or actions it would not have questioned in

members of a different sex” and, thus, “[a]n employer who fires an

individual merely for being gay or transgender defies” Title VII’s

prohibition on discrimination because of sex. Id. at 651-52, 683 (emphasis

added). 9/

      In his Bostock dissent, Justice Alito “briefly note[d] some of the

potential consequences of the Court’s decision,” among them:




      9/     “The only statutorily protected characteristic at issue in
[Bostock] [was] ‘sex,’” and the Court “proceed[ed] on the assumption that
‘sex’ signified what the employers [there] suggest[ed], referring only to
biological distinctions between male and female.” See 590 U.S. at 655
(emphasis added). The plaintiffs in Bostock had argued that the term
“sex” in Title VII “bore a broader scope, capturing more than anatomy
and reaching at least some norms concerning gender identity and sexual
orientation.” Id. at 655. But the majority in Bostock observed that
“nothing in [its] approach to [Bostock] turn[ed] on the outcome of the
parties’ debate” [on these issues] and that the plaintiffs there had
“conceded the [defendants’] point for argument’s sake.” Id. at 655.


                                   -30-
     Healthcare. Healthcare benefits may emerge as an intense
     battleground under the Court’s holding. Transgender
     employees have brought suit under Title VII to challenge
     employer-provided health insurance plans that do not cover
     costly sex reassignment surgery. Similar claims have been
     brought under the Affordable Care Act (ACA), which broadly
     prohibits sex discrimination in the provision of healthcare.

Bostock, 590 U.S. at 730 (Alito, J., dissenting) (footnotes omitted;

emphasis added); see also id. at 724-34 (Alito, J., dissenting) (discussing

other “potential consequences” of the majority’s decision).

     In stark contrast to the District Court’s interpretation, the Bostock

majority addressed Justice Alito’s dissent by acknowledging the limited

reach of the majority opinion as follows:

     What are these consequences anyway? …. The only question
     before us is whether an employer who fires someone simply for
     being homosexual or transgender has discharged or otherwise
     discriminated against that individual “because of such
     individual’s sex.” …. Whether other policies and practices
     might or might not qualify as unlawful discrimination or find
     justifications under other provisions of Title VII are questions
     for future cases, not these.

Id. at 1753 (emphasis added).10/


     10/ See also Comcast Corp. v. Nat’l Ass’n of African American-Owned

Media, 589 U.S. 327, 339 n. * (2020) (“[W]e are a court of review, not of
first view, and do not normally strain to address issues that are less than
fully briefed and that the district and appellate courts have had no
opportunity to consider.” (internal quotation marks and citations
omitted)); cf. Adams by and through Kasper v. Sch. Bd. of St. Johns Cty.,

                                   -31-
     So, the nature of “these” three cases at issue in Bostock matters:

     Bostock. The plaintiff in Bostock had been a decade-long child

welfare advocate at Clayton County with an award-winning employment

history until it was discovered he played in a gay recreational softball

league. 590 U.S. at 653. Shortly after that discovery, he was fired as an

“unbecoming” county employee. Id. The defendant moved to dismiss on

the grounds that under then-binding Eleventh Circuit precedent, Title

VII “[did] not prohibit employers from firing employees for being gay and

so [the plaintiff’s] suit could be dismissed as a matter of law.” See Bostock,

590 U.S. at 654 (citing Bostock v. Clayton Cty., Ga., 723 F. App’x 964 (11th

Cir. 2018) (per curiam)). Following reversal by the Supreme Court and

remand to the district court, the parties conducted discovery and filed

cross-motions for summary judgment, and a magistrate judge

recommended the denial of both motions. See Bostock v. Clayton Cty., Ga.,

1:16-CV-01460, ECF No. 166, pp. 62-63 (N.D. Ga. June 2, 2002). The case

was thereafter administratively closed pursuant to a settlement (in an

unspecified amount) before the district court ruled on the report and



57 F.4th 791, 808 (11th Cir. 2022) (observing that the Supreme Court in
Bostock “expressly declined to address the issue of sex-separated
bathrooms and locker rooms”).

                                    -32-
recommendation. See id., ECF No. 177 (Aug. 8, 2022), ECF No. 179 (Oct.

14, 2022). Thus, the Supreme Court’s opinion in Bostock did not prove

dispositive, even as to the named plaintiff’s claim.

     Zarda. The plaintiff in Zarda was a skydiving instructor who

sometimes did “tandem” jumps where he was “strapped hip-to-hip and

shoulder-to-shoulder” to another jumper/client. Zarda v. Altitude

Express, 883 F.3d 100, 108 (2d Cir. 2018) (en banc). A female client

claimed he touched her inappropriately and Zarda then offered that he

was gay to excuse his behavior. Id. The client complained and Zarda was

fired. Id. He then sued for “sex stereotyping” under Title VII, and “sexual

orientation” discrimination, as recognized under New York statutory law.

See 883 F.3d at 109. His Title VII claim was dismissed because the

Second   Circuit   had    “previously     held   that   sexual   orientation

discrimination claims … [were] not cognizable under Title VII.” Id. at 107

(citing cases), 109.11/ The Second Circuit later granted en banc review of

the dismissal of plaintiff’s Title VII claim, overturned its prior

precedents, and held that “sexual orientation is a form of sex


     11/ His state law claim went to trial and Zarda lost. Zarda, 883 F.3d

at 109; see also Zarda, 855 F.3d at 81-82 (panel opinion affirming jury
verdict for the defendant on the plaintiff’s New York law claim).

                                   -33-
discrimination” barred by the federal statute. See Zarda, 883 F.3d at 131-

32. Notably, Bostock’s holding also did not result in victory for Zarda—at

least not as to liability. Following remand to the district court, and

additional proceedings, the parties settled the action for $6,224.30. See

Zarda v. Altitude Express, Inc., Case # 2:10-cv-04334-EK-AYS, ECF 309,

Stipulation (E.D.N.Y. Mar. 11, 2022).

     Harris Funeral Homes. In EEOC v. R.G. & G.R. Harris Funeral

Homes, Inc., 884 F.3d 560 (6th Cir. 2018), the Sixth Circuit affirmed the

district court’s grant of summary judgment under Title VII for the

plaintiff, a transgender female, based upon the owner’s deposition

testimony that he fired the plaintiff shortly after being informed of her

intention to dress as a woman (and, ultimately, undergo sex

reassignment surgery) because the plaintiff “was no longer going to

represent himself as a man. He wanted to dress as a woman.” Id. at 567-

68; see also id. at 566-67, 571, 581. Therefore, the grant of summary

judgment to the plaintiff in Harris Funeral Homes was based on the

admitted subjective discriminatory motivation of the defendant.

     In summary, the facts underlying Bostock, Zarda, and Harris

Funeral Homes raised the straightforward application of Title VII’s



                                   -34-
prohibition on discrimination to traditional employment decisions (in

each case, termination). With such decisions, one is either hired or not,

promoted or not, fired or not. Health insurance is different. With respect

to a medical condition (gender transition, sexual dysfunction, obesity,

hearing), some care (usually initial interventions) is reimbursable while

other care (often more expensive surgeries) is excluded. Due to cost

constraints, line-drawing is a necessary evil in benefit plans. Whiteside

v. Metropolitan Life Ins. Co., 798 F. Supp. 1380, 1390 (D. Minn. 1992)

(“Any time that the coverage of an employee benefit plan is not universal,

line-drawing becomes a necessary evil.”)

     But none of the Bostock cases dealt with health insurance. And the

facts of this case in no way mirror Bostock. “To be akin to Bostock, the

policy would have to deny some or all coverage to transgender people.

But it doesn’t.” [App. Doc. 79-1 at 20 (vacated) (Brasher, J., dissenting).]

In other words, for Bostock to dictate the outcome of Plaintiff’s Title VII

claim as determined by the District Court, the County would have had to

deny Lange the right to participate in the Plan due to her transgender




                                   -35-
status. 12/ That never happened. To the contrary, Lange has—and has

had—the same coverage, at the same cost, with the same exclusions, as

all other plan participants. [See Doc. 89, p. 24; see also Doc. 205, p. 17.13/]

And the fact that Lange had the same health benefits (including an

exclusion for sex change surgery) while female-identifying as when male-

identifying shows her transgender status had no impact.

      Also, the direct link between disclosure of sexual orientation or

transgender status in Bostock, Zarda, and Harris Funeral Homes is

completely lacking here. When Lange first informed Defendants in 2017

that she was transgender, wished to present as female, and requested

permission to follow the Sheriff’s Office’s female dress policy, she was not


      12/Envision an open enrollment meeting after which Lange is
dropped from the Healthcare Plan because she discloses that she is
transgender (like the plaintiff in Harris Funeral Homes—“Oh, you’re
transgender? Then, you can’t participate in the plan anymore.”). This
happened in Doe v. Catholic Relief Services, 618 F.Supp.3d 244, 250 (D.
Md. 2022), vacated in part on other grounds, 2023 WL 155243, CCB-20-
1815 (D. Md. Jan. 11, 2023), where there was “no genuine dispute over
the fact that CRS revoked Doe’s dependent health insurance because of
his sex—in particular, that he was a man married to another man ….”
Id. at 252 (citing Bostock, 590 U.S. at 656). Bostock’s holding is properly
applied to such cases; this, however, is not such a case.

      13/ The Exclusion itself also “applies equally to a male seeking to

become a woman or a woman seeking to become a man.” [Doc. 205 at p.
17.]

                                     -36-
fired; instead, her request was granted the very same day. [Doc. 150-8, p.

18.] Neither was Lange fired a year later after undergoing top surgery—

another outward expression of her transgender status—nor at any time

thereafter. [Doc. 147, ¶ 14; Doc. 150-18, pp. 20-21.] Lange, who has now

undergone sex change surgery pursuant to the Injunction, remains

employed by the Sheriff’s Office. These facts materially distinguish

Lange’s situation from the facts underlying Bostock, Zarda, and Harris

Funeral Homes.

     2.    The “medically necessary” status of sex change surgery
           for insurance purposes is not determinative.

     In framing the issue to be briefed on rehearing, this Court referred

to the concept of “medically necessary” treatments. [App. Doc. 112.]

Importantly, for purposes of this case, the term “medical necessity” is

defined in an Anthem Clinical Utilization Management Guideline that

establishes various contractual standards for administration of the

Health Plan. [See Doc. 179-3 ¶ 16; Doc. 150-25, p. 2.] Under the

Guideline, surgery is medically necessary if there is “significant

functional impairment AND the procedure can be reasonably expected to

improve the functional impairment.” [Doc. 179-3 ¶ 16.] That is a low




                                   -37-
bar. 14/ Medical necessity should not be conflated with concepts such as a

hospital’s “code blue,” indicating a life-threatening cardiac or respiratory

emergency requiring resuscitation.

     Moreover, many of the treatments excluded under the plan—sexual

dysfunction drugs, bariatric surgery, hearing aids—meet the definition

of medical necessity in that they indicate significant functional

impairment, and the treatment can be reasonably expected to improve

the functional impairment. Thus, the fact that transition surgery is

“medically necessary” does not make its exclusion unique among other


     14/  Other plans impose significantly more criteria. See, e.g.,
Sanctuary Surgical Centre, Inc. v. Aetna Inc., 546 F. App’x. 846, 853 (11th
Cir. 2013) (“care or treatment as likely to produce a significant positive
outcome as, and no more likely to produce a negative outcome than, any
alternative service or supply, both as to the disease or injury involved
and the Member's overall health condition,” and be no more costly than
other available alternatives); Dep’t of Community Health v. Freels, 258
Ga. App. 446, 449-50 (2002) (“Medically necessary services are those
services which are reasonable and necessary in establishing a diagnosis
and providing palliative, curative or restorative treatment for physical
and/or mental health conditions. … The services provided, as well as the
type of provider and setting, must be appropriate to the specific medical
needs of the recipient; and there must be no other equally effective, more
conservative or substantially less costly course of treatment available.”).
In the present case, the Health Plan’s general description of “Medically
Necessary” also sets a comparatively low bar, requiring that care be
“appropriate” for the diagnosis, “compatible” with medical practice,
provided in a “safe and appropriate” setting, and “cost effective”
compared to alternatives. [Doc. 155-1 at 116.]

                                   -38-
plan exclusions and is not dispositive of whether there has been a Title

VII violation. Otherwise put, although the Health Plan covers only

“medically necessary” forms of healthcare, not all “medically necessary”

forms of healthcare are covered.

     Among those “medically necessary” forms of treatment specifically

excluded under the Health Plan are:

  • “Sexual Dysfunction Services and supplies” to treat “male or

     female sexual problems” [Doc. 155-1, p. 72, no. 58 (emphasis in

     original)];

  • “Sexual Dysfunction Drugs” “to treat sexual or erectile

     problems,” the last of which impacts male plan participants only

     [id., p. 74, no. 27];

  • “Weight Loss Surgery” “Bariatric surgery” [id., p. 72, no. 68]; and

  • “Hearing Aids” “Hearing aids or exams to prescribe or fit hearing

     aids” [Doc. 155-1, p. 70, no. 36.]

     The Health Plan also specifically limits (when not excluding

entirely) certain forms of “medically necessary” treatment for infertility,

including “[d]rugs used in assisted reproductive technology procedures to

achieve conception.” [Doc. 155-1, p. 70, no. 39; id., p. 74, no. 15.]



                                    -39-
Importantly, these other examples demonstrate that a procedure’s status

as “medically necessary” is not dispositive of whether it is excluded from

coverage.

     The issue presented in this en banc proceeding is whether the

health      plan—with   its    coverages     and   exclusions—is    facially

discriminatory under Title VII. As noted above, Bostock alone supplied

the District Court’s rationale for answering that issue in the affirmative.

[Doc. 205 at 21.] Yet Bostock expressly left such questions “for future

cases.” 590 U.S. at 1753. And Bostock must be read in light of other

Supreme Court precedent interpreting Title VII in the healthcare

context.

B.   Other Supreme            Court    decisions   support   Defendants’
     position.

     Other Supreme Court decisions potentially bear on the issue

presented here.

     The District Court held that “if an adverse action is facially

discriminatory, the employer’s intent is immaterial—‘the absence of a

malevolent motive does not convert a facially discriminatory policy into

a neutral policy with a discriminatory effect.’” [Id. at 22 (quoting Johnson

Controls, 499 U.S. at 199.] While this general statement is true as far as


                                      -40-
it goes, Johnson Controls is not factually analogous here and neither

mandates nor supports the District Court’s legal conclusion that the

Exclusion is facially discriminatory.

     The employer in Johnson Controls implemented a “fetal-protection

policy” which excluded women of childbearing age from certain jobs –

effectively giving “[f]ertile men, but not fertile women, [] a choice as to

whether they wish[ed] to risk their reproductive health for a particular

job.” Id. at 197. The Supreme Court found the employer’s bias to be

“obvious” because its fetal-protection policy necessarily “classifie[d] on

the basis of gender and childbearing capacity, rather than fertility alone.”

Id. at 198.

     But Lange is not limited in her ability to pursue or remain in any

particular position of employment with Defendants; rather, she

challenges two of almost 100 medical and pharmacy exclusions that limit

various forms of treatment under the Health Plan—just as the Sheriff

himself was limited in addressing his hearing loss by the exclusion for

hearing aids and still other exclusions limit the ability of other plan

participants to treat various medical conditions, such as obesity. [Doc.




                                   -41-
155-1, p. 72 no. 68, p. 74 no. 29.] Thus, the health insurance context

makes Johnson Controls a poor fit for determining Lange’s claim.

     Unlike Johnson Controls, the Supreme Court’s opinions in City of

Los Angeles v. Manhart, 435 U.S. 702, 710 (1978) (“Manhart”) and

Newport News addressed questions regarding fringe benefits. But neither

case supports summary judgment in Lange’s favor under Title VII

because both cases are factually distinguishable.

     Manhart presented a disparate treatment claim based on a fringe

benefit offered to male and female employees that was identical in kind

but not in cost. The employer “required its [2,000] female employees to

make larger contributions to its pension fund than its [10,000] male

employees” based on the employer’s belief that, “[a]s a class, women live

longer than men.” Manhart, 435 U.S. at 704-705 (noting that the

defendant “required female employees to make monthly contributions to

the [pension] fund which were 14.84% higher than the contributions

required of comparable male employees.”). Not surprisingly, this overt

distinction in pricing was found to violate Title VII.

     In Newport News, the employer’s plan differentiated, for coverage

of pregnancy, between female employees who were provided coverage and



                                   -42-
female spouses of male employees who were not. Id. at 672. But the

Supreme Court, applying Manhart, held that the pregnancy limitation

on the non-employee wives of male employees violated Title VII: “the

husbands    of   female   employees    receive[d]   a   specified   level   of

hospitalization coverage for all conditions; the wives of male employees

receive[d] such coverage except for pregnancy-related conditions.” Id. at

682-85 (emphasis added). 15/

     Neither Manhart nor Newport News mandates—or supports—

summary judgment in Lange’s favor. In each of those cases, an

employment benefit was provided to male and female employees in a

discriminatory manner based on their sex: pension benefits at a higher

cost to female employees than male employees in Manhart; different

dependent coverage for female employees and male employees in

Newport News. In contrast, under the Health Plan here, it is undisputed

that “Lange has the same health coverage as other employees”—and at

the same cost. [See Doc. 89, p. 24; see also Doc. 205, p. 17.]




     15/ The Court in Newport News assumed all dependent spouses of

male employees were female. Id. at 684.

                                    -43-
     The District Court’s summary judgment order would essentially

grant transgender individuals “most-favored nation” status under Title

VII, which would run afoul of the Supreme Court’s holding in Young v.

United Parcel Service, 575 U.S. 206 (2015). Lange contended that the

Exclusion violates Title VII because it “impacts only [her], as she is the

only openly transgender health plan member” [Doc. 140-1, p. 27], which

is similar to Young where a pregnant plaintiff claimed, “evidence that

pregnant and nonpregnant workers were not treated the same” meant

“she must win.” 575 U.S. at 221. Cf. Liao v. Tennessee Valley Auth., 867

F.2d 1366, 1369 (11th Cir. 1989) (noting, in context of affirmative action,

that Title VII does not require any employer to grant preferential

treatment to any employee on the basis of his or her membership in an

underrepresented protected classification).

     But the Supreme Court said, “disparate-treatment law normally

permits an employer to implement policies that are not intended to harm

members of a protected class, even if their implementation sometimes

harms those members, as long as the employer has [] legitimate, non-

discriminatory, non-pretextual reasons for doing so.” Young, 575 U.S. at

222. Health insurance benefits serve as a prime example: some



                                   -44-
participants may make no use of those benefits for years while other

participants may do so constantly—even though all participants pay the

same premium. 16/

     The fact that transgender individuals fall into both groups (i.e.,

those plan participants who want sex-change surgery and those who do

not) is further evidence that the Exclusion is not facially discriminatory.

But under the terms of the Injunction, Lange would be treated more

favorably than the approximately 1,499 cisgender participants whose

desired treatments—including medically necessary treatments—are

subject to Health Plan exclusions for “[s]ervices or supplies for male or

female sexual problems” generally and “[d]rugs to treat sexual or erectile


     16/ As  Defendants pointed out in the District Court: “This is an
insurance case. It is alleged in the form of constitutional and statutory
claims, but it boils down to whether a relatively small self-funded health
insurance plan can cover less expensive treatments for certain conditions
while excluding coverage of more expensive treatments for those same
conditions. Conditions administered in this way include hearing, obesity,
and transgender care. In distinguishing between different levels of
treatment for these conditions, the Health Plan engages in the necessary
insurance evil of line-drawing. However, this line-drawing is not
discriminatory to [Lange]. The [Health] Plan does not draw a line
between transgender and non-transgender participants; it draws a line
between transgender participants who want surgery and those who do
not. Since there are transgender individuals on both sides of the line, the
[E]xclusion is not based on transgender or gender dysphoria status and
does not violate the law.” [Doc. 189, p. 1.]

                                   -45-
problems,” as well as medically necessary treatment and drugs for

“[i]nfertility.” [Doc. 155-1, pp. 70, 72, 74.] Affirming the District Court

would mean no aspect of transition care could ever be excluded from any

plan. That is more than Title VII authorizes and conflicts with the

holding in Young.

C.   The record does not support summary judgment to Lange.

     The District Court erred in awarding summary judgment to Lange

for at least the following reasons: (1) summary judgment was awarded to

the party with the burden of proof without the requisite showing for such

an award; (2) most of Lange’s transition care was covered by the plan; (3)

surgery for a transgender female is not the same as surgery for a natal

female; and, accordingly, (4) the Injunction should be dissolved.

     1.    The District Court erred in awarding summary
           judgment to the party with the burden of proof.

     Part of what makes this appeal unique is not just the finding of

facial discrimination, but also the fact that the District Court reached

that determination in the process of entering summary judgment for

Lange, who bears the burden of proof under Title VII. But where “the

moving party has the burden of proof at trial, that party must show

affirmatively the absence of a genuine issue of material fact: it must


                                   -46-
support its motion with credible evidence … that would entitle it to a

directed verdict if not controverted at trial.” United States v. Four Parcels

of Real Prop. in Greene & Tuscaloosa Ctys. in Ala., 941 F.2d 1428, 1438

(11th Cir. 1991) (en banc) (“Four Parcels”) (internal quotation marks and

citation omitted) (emphasis in original).

     Therefore, Lange, as the movant, had to “show that, on all the

essential elements of [her] case on which [she] bears the burden of proof

at trial, no reasonable jury could find for [Defendants].” Id. She did not

meet this burden, since “all reasonable doubts about the facts” and “all

justifiable inferences” are to be drawn in favor of Defendants as the non-

moving parties. Id. at 1437 (internal quotation marks and citation

omitted).

     The District Court held that “it is undisputed that the Exclusion is

facially discriminatory.” [Doc. 205, p. 22.] That finding was premised on

two facts proffered by Lange as undisputed: (i) “The Exclusion denies

coverage for procedures and treatments that [purportedly] would

otherwise be covered if provided in connection with a different diagnosis”;

and (ii) “the only Health Plan participants impacted by the Exclusion are




                                    -47-
transgender people seeking a ‘sex change.’” [Doc. 205, pp. 22-23 citing

Doc. 179-3, ¶¶ 77, 78.]

      Defendants admitted Lange’s Statement of Fact 78 that the

Exclusion “impact[s]” only those “transgender people seeking a ‘sex

change,’” but Defendants expressly contested Lange’s Statement of Fact

77 “to the extent [Lange] suggest[ed] that all treatment for gender

dysphoria is excluded” based on Lange’s own deposition testimony that

“her endocrinologist visits, psychological visits, and hormones and other

medications have been covered by the Health Plan.” [Doc. 205, p. 23

(citing Doc. 179-3, ¶¶ 77, 78).] 17/

      The District Court conceded as “well taken” Defendants’

“qualification of their [purported] admission to Plaintiff’s Statement of

Fact 77”—principally, that while the Exclusion “excludes coverage for sex

change surgery and drugs related to sex change surgery,” it does not




      17/This recognition stands in contrast to the District Court’s
mistaken observation that hormones for menopause would be covered but
hormones for a transition would not be. [Doc. 205 at 23.] To be fair, the
District Court was relying on testimony in which a County representative
answered questions about such coverage with phrases such as, “[a]s I
understand it …” [Id. at 22.] But the Health Plan identifies Anthem as
Claims Administrator [see Doc. 155-1, p. 110], and Lange did not depose
or otherwise obtain testimony from Anthem.

                                       -48-
exclude other, non-surgical treatment for gender dysphoria. [Id. at 23.]

And still later in the Order, the District Court again appeared to

acknowledge that the Health Plan “covers some treatment relating to

Lange’s transgender status.” [Id. at 26.]     Given these qualifications,

Lange has not “affirmatively” demonstrated facial discrimination or her

entitlement to summary judgment. Four Parcels, 941 F.2d at 1438.

     In addition, the District Court failed to construe the Health Plan

“as a whole,” as is typically done under contract law, see Kirby v. Anthem,

Inc., Civil Action No. 1:19-CV-000597-ELR, 2019 WL 2004128, at *5-7

(N.D. Ga. Mar. 21, 2019), and failed to recognize that federal “disparate-

treatment law normally permits an employer to implement policies that

are not intended to harm members of a protected class, even if their

implementation sometimes harms those members, as long as the

employer has [] legitimate, nondiscriminatory, nonpretextual reasons for

doing so,” Young, 575 U.S. at 222. Expense is such a reason, as the

entirety of the Health Plan–as well as the sworn statements of

Commissioners [Doc.137-7, ¶ 4, Doc. 137-8, ¶ 4, Doc. 137-9, ¶ 4]–shows.

Comparing the treatment of claims usually considered together,




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Underwood v. Perry Cty. Comm., 431 F.3d 788, 793 (11th Cir. 2005),

reveals the District Court’s error.

      The District Court determined that neither party was entitled to

summary judgment on the Equal Protection claim, as the facts–including

with respect to discriminatory intent–were “hotly disputed.” [Doc. 205 at

20.] It said:

   • the Exclusion was not facially discriminatory. [Doc. 205 at 16.]

   • a showing of intent was required. [Doc. 205 at 17.]

   • the plan (as a whole) drew a line between plan members who want

      sex change surgery and those who don’t, with transgender members

      on each side. [Doc. 205 at 18.]

Yet on the Title VII claim the District Court said:

   • the Exclusion is facially discriminatory. [Doc. 205 at 22.]

   • evidence of intent is “immaterial.” [Doc. 205 at 22.]

   • even though the same line-drawing applies: “The undisputed,

      ultimate point is that the Exclusion applies only to transgender

      members, and it applies to Lange because she is transgender.”

      [Doc. 205 at 23 (emphasis added).]




                                      -50-
     Thus, the District Court improperly limited its consideration under

Title VII to the Exclusion alone. In so doing, it ignored relevant context

from the proper analysis of Lange’s health insurance plan claim. In the

health insurance context, as Judge Brasher observed in his panel dissent,

“[i]t’s the comparison—e.g., what is provided to males versus what is

provided to females—that tells us whether a health insurance policy is

facially discriminatory.” App. Doc. 79-1 at 23.

     Without that context, a court would be deprived of relevant

comparisons to how the plan works. In this regard, the Exclusion is

comprised of one medical exclusion and a related pharmacy exclusion:

     57.   Sex Change Services and supplies for a sex change and/or
           the reversal of a sex change.

     26.   Sex Change Drugs Drugs for sex change surgery.

[Doc. 155-1 at 72, 74 (boldface in original).]

     For purposes of comparison and to supply critical context, there are

also medical and pharmacy exclusions that expressly address sexual

healthcare:

     58.   Sexual Dysfunction Services or supplies for male or female
           sexual problems.

     27.   Sexual Dysfunction Drugs Drugs to treat sexual or erectile
           problems.


                                    -51-
[Doc. 155-1 at 72, 74 (boldface in original).]

        Before the District Court, Lange referred to the Exclusion (i.e.,

medical exclusion 57 and pharmacy exclusion 26) as “based upon a sex-

classification” [see Doc. 140-1, p. 22 (internal quotation marks and

citation omitted)], even though it applies to male and female participants,

including transgender males and transgender females. But the coverage

limitations imposed by medical exclusion 58 and pharmacy exclusion 27

on the treatment of “sexual dysfunction” also deal with sex, and also

apply to male and female participants, including transgender males and

transgender females. Lange suggests that the broader, more general

exclusions contained in medical exclusion 58 and pharmacy exclusion 27

are simply irrelevant to—and not to be considered in deciding—the

disparate treatment question presented here [Doc. 187 at 16-17; App.

Doc. 33 at 50-51], but there is no practical difference except that 57 and

26 affect transgender individuals. Thus, implicit in Lange’s argument is

the false notion that Title VII entitles transgender individuals to

preferential treatment. Young, 575 U.S. at 207; see also Liao, 867 F.2d at

1369.




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     Therefore, it would be error, especially in a disparate treatment

case, for this Court to analyze the Exclusion in isolation from all other

exclusions—including, but not limited to, other sex-based exclusions—in

the Health Plan.

     2.    Coverage of Lange’s care shows the plan does not
           discriminate.

     As Lange herself acknowledged, “[l]ike all insurance plans, the

Health Plan contains a number of exclusions, i.e., certain types of medical

care that are not covered.” [Doc. 174, ¶ 74 (emphasis added).] To be

specific, there are 68 medical exclusions and 29 pharmacy exclusions in

the Health Plan. [Doc. 155-1 at 72, 74.] Lange does not argue–nor could

she feasibly–that Title VII prohibits healthcare plans from having any

exclusions. As Judge Brasher recognized in his panel dissent, “[t]he

plan’s sex change exclusion is consistent with the pattern in the rest of

the insurance plan: it covers medically necessary treatments but

excludes particularly expensive, top-of-the-line procedures.” [App. Doc.

79-1 at 18 (vacated).] All exclusions apply to all plan participants–Lange

is subject to the exclusions for sexual dysfunction drugs, bariatric

surgery, and hearing aids, none of which she is known to need or desire;

and cisgender participants are subject to the exclusion for sex change


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surgery or the reversal of a sex change, even though they are not likely

to need or desire such procedures.

     Moreover, the Exclusion (in the same or similar language) has been

part of the Health Plan since at least 1998 – eight years before Lange

was hired by the Sheriff’s Office in 2006. [Doc. 150-13, p. 12; Doc. 159, p.

45.] It was not a response to Lange’s informing the Sheriff of her desire

to present as female after 11 years on the job.

     Under the plan, Lange had the following care covered:

  • Lange saw an endocrinologist to manage her hormones as part of

     her transition.    The endocrinologist determined how much of

     various hormones to take, prescribed the hormones, discussed

     certain side effects and concerns with Lange, and tracked that

     Lange’s hormone levels and other general health were in line with

     what they should be. [Doc. 150-18 p. 7, 103:11-25; id. pp. 10-11

     116:8-117:7.] These visits–coded for Z87.890 (personal history of

     sex reassignment) or F64.1 (Gender identity disorder in adolescence

     and adulthood)–were covered by the Health Plan and Lange

     generally paid a flat co-pay. [Id. Ex. 36.]




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• Lange took hormones, such as estrogen (a female hormone) and

  spironolactone (which suppresses male hormones) to facilitate her

  transition. [Id. at 148:13-149:1.] Her prescription records show

  that she only paid a flat co-pay amount for these hormones, showing

  they too were covered by the Health Plan. [Id. Ex. 44; 147:20-

  148:12.]

• Lange also saw a psychologist, who gauged Lange’s commitment to

  transition and counseled her through that process.              The

  psychologist’s support was necessary to support Lange’s candidacy

  for transition surgery. [Id. 127:12-130:2.] Because her psychologist

  initially entered a diagnosis code for depression (F33.0) and never

  changed it [Soety Dep. 41:13-21], the fact these bills were covered

  under the Health Plan is not directly indicative they would have

  been covered if the coding reflected a transgender diagnosis code;

  however, in light of the coverage of other matters with a

  transgender code, it cannot be inferred that they would not have

  been covered with a gender transition code.

• Finally, Lange identified Dr. Bluebond-Langner in New York as the

  surgeon she wanted to perform her surgery. When Lange visited



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     New York and was evaluated by Dr. Bluebond-Langner and a

     surgical colleague (Dr. Zhao), that evaluation–clearly coded as an

     evaluation for transition surgery (F64.0)–was covered by the

     Health Plan. [Doc. 259 at 171:25-173:5.]

  • But after Dr. Bluebond-Langner’s office called for pre-authorization

     of the surgery itself, Anthem issued a denial letter that the surgery

     would not be covered because of the Exclusion. 18/ [Doc. 179-3 ¶ 129.]

     This litany of covered treatment and one excluded surgery–most of

which was clearly coded as related to gender transition–defies the

District Court’s conclusion that the Health Plan is facially discriminatory

on transgender status. [Doc. 205 at 26-28.] Instead of drawing a line

between transgender plan participants and all others, it draws the line

between those who want the treatment of transition surgery (or the

reversal of such a procedure) and those who do not. Since there are




     18/ This should not have been surprising, as Lange’s first comment

about her transition at work was to the County’s Personnel Director who
told her in that conversation the County’s plan excludes coverage for sex
change surgery. [Doc. 179-3 ¶¶ 93-94.] Lange said she had already
checked that out and even suggested she might get a part-time job at
Starbuck’s, whose plan she understood covered such surgery. [Doc. 137-
3 at 57(56:22-25).]


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transgender individuals on both sides of the line,19/ transgender status

cannot be the but-for cause of the distinction. In keeping with Bostock’s

instruction to change one thing at a time until you find what makes a

difference (making it the but-for cause), 590 U.S. at 656, transgender

status is not the difference maker for the Health Plan. “That the plan

covers transgender people and gender dysphoria raises a reasonable

inference that there is a ‘but for’ cause other than transgender status for

the plan to decline coverage for sex change operations. But, more to the

point here, it unequivocally establishes the absence of facial

discrimination against transgender people or transgender-related

treatments.” [App. Doc. 79-1 at 23-24 (vacated) (Brasher, J., dissenting)

(emphasis in original).]

     3.    Lange’s procedure is not the same as a natal female’s
           vaginoplasty.

     The District Court suggested that the same procedure Lange

sought–a vaginoplasty–would have been covered for a natal female.20/




     19/Lange’s expert has acknowledged that not all transgender
individuals desire to go through surgery. [Doc. 148-2 ¶¶ 22, 20.]

     20/A natal female is a person born with female anatomy. A
cisgender female is a natal female who identifies as female. A transgender

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[Doc. 205 at 23.] 21/ But Lange’s surgeon, Dr. Bluebond-Langner, showed

that a natal male’s procedure (like Lange’s) is different from a natal

female’s – “the testicles will be removed, the urethra will be shortened,

and the penile and scrotal skin will be used to line the neovagina, the

space between the rectum and the prostate and bladder.” [Doc. 144-1 at

¶ 25.] These steps would all be unnecessary–and impossible–for a natal

female, showing that the suite of surgical procedures referred to by the

District Court as “vaginoplasty” are not the same for natal males and

natal females.

     Lange’s other surgical expert, Dr. Schechter, also broke down the

steps by procedure for transgender females like Lange: “Genital

reconstruction surgeries: penectomy (removal of the penis), orchiectomy

(removal of the testes), vaginoplasty, clitoroplasty, and/or vulvoplasty



female—like Lange—is born a natal male (with male anatomy) but
identifies as female.

     21/ The District Court actually dealt with other examples: “The fact

of the matter is, for example, that the plan pays for mastectomies when
medically necessary for cancer treatment but not when mastectomies are
medically necessary for sex change surgery. And the plan pays for
hormone replacement therapy medically necessary for the treatment of
menopause, but not hormone replacement therapy medically necessary
for “sex change.” [Doc. 205 at 23.] As pointed out above, the latter
comparison is factually wrong.

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(creation of female genitalia including the labia minora and majora).”

[Doc. 148-2 at ¶ 25.]      Without question, the penectomy and the

orchiectomy would not be necessary or possible for a natal female.

Accordingly, no inference that a similar procedure would be covered for

natal female plan participants could reasonably be drawn from the

record, as it is belied by contextual evidence of the material differences

in the procedures.

     4.    The Injunction should be dissolved.

     In summary, because the District Court relied on medical

procedures or forms of treatment unrelated to gender dysphoria, they

constitute, at most, circumstantial evidence of discrimination regarding

which there are–at the very least–genuine issues of material fact that a

reasonable jury could resolve in Defendants’ favor. Lewis v. City of Union

City, 918 F.3d 1213, 1220, n. 6, 1231 (11th Cir. 2019) (en banc).

     As with Lange’s all-but identical sex discrimination claim under the

Equal Protection Clause, the District Court found “a genuine dispute of

material fact as to whether the adoption and maintenance of the

Exclusion was done with discriminatory intent.” [Doc. 205, p. 21; see also

id., p. 33 (“Lange’s equal protection claim will proceed to trial because



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there are numerous disputes of fact as to whether the Exclusion was

adopted and maintained with a discriminatory intent.”).] The Supreme

Court’s opinions in Johnson Controls, Manhart, Newport News, and

Bostock do not render the question of intent “immaterial” as to her

disparate treatment claim under Title VII. [Id., p. 22.] See Bostock, 590

at 659 (“An employer violates Title VII when it intentionally fires an

individual employee based in part on sex.) (emphasis added).         The

District Court erred in granting summary judgment to Lange on that

claim and in issuing the Injunction based on that erroneous

determination.

                         IV.   CONCLUSION

     For the reasons set forth above, Defendants respectfully request

that this Court reverse the District Court’s Order granting summary

judgment to Lange on her Title VII claim and dissolve the Injunction

based on that Order.

     Respectfully submitted this 30th day of September, 2024.

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                 CERTIFICATE OF COMPLIANCE

     Counsel for the Appellants hereby certifies that this brief complies

with the type-volume limitation set forth in FRAP 32(a)(7)(B). This brief

contains 11,898 words.

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                     CERTIFICATE OF SERVICE

     I hereby certify that I have, this date, filed electronically the

foregoing En Banc Brief of Defendants-Appellants with the Clerk of

this Court, and have served it upon counsel by filing it with the court’s

electronic-filing system. In compliance with the Federal Rules of

Appellate Procedure, I have also delivered ten copies of this brief to Clerk

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     This the 30th day of September, 2024.

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